UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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Pamela Suarez, individually on :
behalf of herself and all others similarly :
situated, : Case No. 7:17-CV-09847-VB-PD
Plaintiff,
V.
: AMENDED CLASS ACTION
California Natural Living, Inc., d/b/a California Baby+ — : COMPLAINT
Kids :
JURY TRIAL DEMANDED
Defendant,
X

 

Plaintiff, Pamela Suarez (hereinafter “Plaintiff’), individually and on behalf of all others
similarly situated, by her attorneys, alleges the following upon information and belief, except for
those allegations pertaining to Plaintiff, which are based on personal knowledge:

NATURE OF THE ACTION

1. This action seeks to remedy the deceptive and misleading business practices of
California Natural Living, Inc. d/b/a California Baby (hereinafter “Defendant”) with respect to
the marketing and sales of the following California Baby product line (hereinafter the
“Products’’) throughout the State of New York and throughout the country:

e California Baby Calming Bubble Bath

California Baby Natural Pregnancy Nourishing Cream

California Baby Super Sensitive Shampoo & Body Wash

California Baby Calming Shampoo & Body Wash

California Baby Calming Bubble Bath & Body Wash
California Baby Calendula Shampoo & Body Wash
California Baby Tea Tree & Lavender Shampoo & Body Wash
California Baby Eucalyptus Ease Shampoo & Body Wash
California Baby Swimmer’s Defense Shampoo & Body Wash
California Baby Overtired & Cranky Shampoo & Body Wash
California Baby #supersensitive Shampoo & Body Wash
California Baby #chillax Shampoo & Body Wash

California Baby Chamomile & Mint Shampoo & Body Wash
California Baby Tea Tree & Lavender Hair Conditioner
California Baby Swimmer’s Defense Hair Conditioner
California Baby Overtired & Cranky Hair Conditioner
California Baby Calming Hair De-Tangler

California Baby Calming Jelly Mousse Natural Hair Gel
California Baby Overtired & Cranky Jelly Mousse Natural Hair Gel
California Baby Super Sensitive Bubble Bath

California Baby Calendula Bubble Bath

California Baby Chamomile & Herbs Bubble Bath

California Baby Light & Happy Bubble Bath

California Baby Party! Bubble Bath

California Baby Calming Everywhere Spritzer

California Baby Eucalyptus Ease Everywhere Spritzer
California Baby Overtired & Cranky Everywhere Spritzer

California Baby I Love You Everywhere Spritzer
2
e California Baby Aloe & Arnica Soothing Spray

e California Baby Natural Bug Blend Bug Repellent

e California Baby Calming Diaper Area Wash

e California Baby Super Sensitive Broad Spectrum SPF 30+ Sunscreen Stick

2. Defendant manufactures, sells, and distributes the Products using a marketing and
advertising campaign centered around claims that appeal to health conscious consumers, i.e., that
its Products are “Natural” and/or contain “Natural Cleansers.” In fact, the same prominent
representations that the Products are “natural” appears on the front label of each of the Products.
However, Defendant’s advertising and marketing campaign is false, deceptive, and misleading
because the Products contain synthetic ingredients.

3. Plaintiff and those similarly situated (“Class Members”) relied on Defendant’s
misrepresentations that the Products are “Natural” and/or contain “Natural Cleansers” when
purchasing the Products. Plaintiff and Class Members paid a premium for the Products over and
above comparable products that did not purport to be “Natural” and/or contain “Natural
Cleansers.” Given that Plaintiff and Class Members paid a premium for the Products based on
Defendant’s misrepresentations that they are “Natural” and/or contain “Natural Cleansers,”
Plaintiff and Class Members suffered an injury in the amount of the premium paid.

4, Defendant’s conduct violated and continues to violate, inter alia, New York
General Business Law §§ 349 and 350, the consumer protection statutes of all 50 states, and the
Magnuson-Moss Warranty Act. Defendant breached and continue to breach its express and
implied warranties regarding the Products. Defendant has been and continues to be unjustly
enriched. Accordingly, Plaintiff brings this action against Defendant on behalf of herself and
Class Members who purchased the Products during the applicable statute of limitations period

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(the “Class Period”).
FACTUAL BACKGROUND

5. Consumers have become increasingly concerned about the effects of synthetic and
chemical ingredients in food, cleaning products, bath and beauty products and everyday
household products. Companies such as the Defendant have capitalized on consumers’ desire for
purportedly “natural products.” Indeed, consumers are willing to pay, and have paid, a premium
for products branded “natural” over products that contain synthetic ingredients. In 2015, sales of
natural products grew 9.5% to $180 billion.1 Reasonable consumers, including Plaintiffs and
Class Members, value natural products for important reasons, including the belief that they are
safer and healthier than alternative products that are not represented as natural.

6. Despite the Products containing a number of synthetic ingredients, Defendant
markets the Products as being “Natural” and/or containing “Natural Cleansers.” The Products’

labeling is depicted below:

 

| Natural Products Industry Sales up 9.5% to $180bn Says NBJ, FOOD NAVIGATOR, http://www. foodnavigator-
usa.com/Markets/EX PO- WES T-trendspotting-organics-natural-claims/(page)/6; see also Shoshanna Delventhal, Study Shows
Surge in Demand for “Natural” Products, INVESTOPEDIA (February 22, 2017),

http://www. investopedia.com/articles/investing/0222 17/study-shows-surge-demand-natural-products.asp (Study by Kline
Research indicated that in 2016, the personal care market reached 9% growth in the U.S. and 8% in the U.K. The trend-driven
natural and organic personal care industry is on track to be worth $25.1 million by 2025); Natural living: The next frontier for
growth? [NEXT Forecast 2017], NEW HOPE NT WORK (December 20, 2016), http://www.newhope.com/beauty-and-
lifestyle/natural-living-next-frontier-growth-next-forecast-2017.

A
California Baby Calming Bubble Bath

 

Synthetic Ingredients:

Decyl Glucoside
Laury! Glucoside
Sodium Benzoate
California Baby Natural Pregnancy Nourishing Cream

 

 

Synthetic Ingredients:

Cetyl Alcohol
Stearic Acid
Organic Glycerin (Vegetable)
Tocopherol
California Baby Super Sensitive Shampoo & Body Wash

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Xanthan Gum
Panthenol
Sodium Benzoate
California Baby Calming Shampoo & Body Wash

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Xanthan Gum
Panthenol
Sodium Benzoate
California Baby Calming Bubble Bath & Body Wash

 

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Xanthan Gum
Sodium Benzoate
California Baby Calendula Shampoo & Body Wash

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Xanthan Gum
Panthenol
Sodium Benzoate

10
California Baby Tea Tree & Lavender Shampoo & Body Wash

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Xanthan Gum
Sodium Benzoate

11
California Baby Eucalyptus Ease Shampoo & Body Wash

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Xanthan Gum
Panthenol
Sodium Benzoate

2
California Baby Swimmer’s Defense Shampoo & Body Wash

    

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Synthetic Ingredients:

Decyl Glucoside
Laury! Glucoside
Vegetable Glycerine USP
Xanthan Gum
Sodium Benzoate

13
California Baby Overtired & Cranky Shampoo & Body Wash

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Xanthan Gum
Panthenol
Sodium Benzoate

14
California Baby #supersensitive Shampoo & Body Wash

 

Synthetic Ingredients:

Decyl Glucoside
Laury! Glucoside
Vegetable Glycerine USP
Xanthan Gum
Sodium Benzoate

Lo
California Baby #chillax Shampoo & Body Wash

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Xanthan Gum
Panthenol
Sodium Benzoate

16
California Baby Chamomile & Mint Shampoo & Body Wash

 

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Xanthan Gum
Panthenol
Sodium Benzoate

17
California Baby Tea Tree & Lavender Hair Conditioner

 

Synthetic Ingredients:

Cetyl Alcohol
Vegetable Glycerine USP
Panthenol

18
California Baby Swimmer’s Defense Hair Conditioner

 

Synthetic Ingredients:

Cetyl Alcohol
Vegetable Glycerine USP
Panthenol

19
California Baby Overtired & Cranky Hair Conditioner

 

Synthetic Ingredients:

Cetyl Alcohol
Vegetable Glycerine USP
Panthenol

20
California Baby Calming Hair De-Tangler

 

Synthetic Ingredients:

Sodium Benzoate

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California Baby Calming Jelly Mousse Natural Hair Gel

 

Synthetic Ingredients:

Glycerin USP
Xanthan Gum

22
California Baby Overtired & Cranky Jelly Mousse Natural Hair Gel

 

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Synthetic Ingredients:

Glycerin
Xanthan Gum

2
California Baby Super Sensitive Bubble Bath

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Sodium Benzoate

24
California Baby Calendula Bubble Bath

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Sodium Benzoate

25
California Baby Chamomile & Herbs Bubble Bath

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Sodium Benzoate

26
California Baby Light & Happy Bubble Bath

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Sodium Benzoate

27
California Baby Party! Bubble Bath

 

Synthetic Ingredients:

Decyl Glucoside
Lauryl Glucoside
Vegetable Glycerine USP
Sodium Benzoate

28
California Baby Calming Everywhere Spritzer

 

Synthetic Ingredients:

Vegetable Glycerine USP

29
California Baby Eucalyptus Ease Everywhere Spritzer

 

Synthetic Ingredients:

Vegetable Glycerine USP

30
California Baby Overtired & Cranky Everywhere Spritzer

 

Synthetic Ingredients:

Vegetable Glycerine USP

31
California Baby I Love You Everywhere Spritzer

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“ALEGR A BABY

safe* natural « fun

 

Synthetic Ingredients:

Vegetable Glycerine USP

32
California Baby Aloe & Arnica Soothing Spray

 

Synthetic Ingredients:

Glycerin USP

33
California Baby Natural Bug Blend Bug Repellent

 

Synthetic Ingredients:

Vegetable Glycerine USP

34
California Baby Calming Diaper Area Wash

 

Synthetic Ingredients:

Vegetable Glycerine USP
Sodium Benzoate

35
California Baby Super Sensitive Broad Spectrum SPF 30+ Sunscreen Stick

 

Synthetic Ingredients:

Titanium Dioxide
Ds Defendant has designed a marketing and advertising campaign centered around
the alleged “Natural” makeup of the Products. As pictured above, many of the Products’ labels
include a cartoon picture of the sun and a green and blue band along the bottom. Additionally,

the back of the labels state the products are “100% Natural Base” and have “Organic
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Ingredients.”

8. Each of these labels is pictured on Defendant’s website and are viewed by all
consumers who purchase the Products online. Defendant’s website further emphasizes the
“natural” aspects of the Products by stating that the Products have “Plant-based Ingredients” and
“No synthetic fragrances.”

9. Defendant’s representations that the Products are “Natural” and/or contain
“Natural Cleansers” is false, misleading, and deceptive because the Products contain multiple
ingredients that are, as explained below, synthetic.

a. Lauryl Glucoside is a synthetic surfactant or dispersant. It is synthesized by
reacting an alcohol or mixture of alcohols with a cyclic form of glucose or
glucose polymers.’

b. Panthenol is a synthetic compound, produced by adding propanolamine to
optically active alpha, gamma-dihydroxy-beta,beta-dimethylbutyrolacton, such as
by combining 3-amino-1-propanolamine with the lactone of 2,4-dihydroxy-3,3-
dimethyl butyric acid or the panthotheinc lactone of 2,4-dihydroxy-3,3-dimethyl
butyric acid.

c. Decyl Glucoside is a synthetic ingredient obtained by the condensation of decyl
alcohol and glucose. 4

d. Tocopherol is a synthetic, inert ingredient used pre and post-harvest as an
ingredient in pesticide formulations applied to growing crops or to raw

agricultural commodities after harvest. See 40 C.F.R. §180.910.

 

2 https://www.californiababy.com/collections/shampoo-body washes
3 http://www.ewg.org/skindeep/ingredient/703445/LAURYL_GLUCOSIDE/.
4 http://www.newdirections.com.au/articles/images/Decy|-Glucoside-and-Other-Alkyl-Glucosides-as-Used-in-Cosmetics.pdf

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e.

Glyceryl Stearate (Stearic Acid) is a mixture of variable proportions of glyceryl
monostearate, glyceryl monopalmitate, and glyceryl esters of fatty acids present in
commercial stearic acid. It is recognized by federal regulations as synthetic. See
7 C.F.R. § 205.605(b).

Xanthan Gum is a polysaccharide derived from the fermentation of sugars by
anthomonas campeseri bacterium and purification using isopropyl alcohol. It is
listed as a synthetic ingredient by federal regulation and is typically used as a
thickening or stabilizing agent in beverages and as emulsifiers in salad dressings.
See 7 C.F.R. § 205.605(b). A 2012 article in the Journal of Pediatrics noted that
the U.S. Food & Drug Administration issued warnings that products containing
xanthan gum have been linked to illness and death in infants.°

Titanium Dioxide is a color additive that is synthetically prepared T102, free
from admixture with other substances. °

Cety! Alcohol is a synthetic flavoring substance and adjuvant. See 21 C.F.R.
§172.515. Cetyl Alcohol—also known as 1-Hexadecanol—is produced through
“Tclatalytic hydrogenation of the triglycerides obtained from coconut oil or
tallow; oxidation of a chain growth product of ethylene oligomerized on a

triethylaluminum catalyst.”’ Because Cetyl Alcohol is formulated or

manufactured by a chemical process or by a process that chemically changes a

 

> Jennifer Beal, MPH et al., Late Onset Necrotizing Enterocolitis in Infants Following Use of a Xanthan Gum-Containing
Thickening Agent, 161 THE JOURNAL OF PEDIATRICS 2, 354 (2012).

6 http://www.accessdata. fda.gov/scripts/cdrh/cfdocs/cfeft/cfrsearch.cfm?fr=73.575

TNAT’L CTR. FOR BIOTECHNOLOGY INFO., U.S. DEP’T OF HEALTH & HUMAN SERVS., Open Chemistry Database:
1-Hexadecanol: 10.2 Methods of Manufacture PUBCHEM.NCBI.NLM.NIH.GOV.

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i.

substance extracted from naturally occurring plant, animal, or mineral sources, a
reasonable consumer would consider it synthetic.

Sodium Benzoate is a synthetic preservative.’ Sodium benzoate is produced by
the neutralization of benzoic acid with sodium hydroxide, or by adding benzoic
acid to a hot concentrated solution of sodium carbonate until effervescence
ceases. The solution is then evaporated, cooled and allowed to crystalize or
evaporate to dryness, and then granulated. It does not occur naturally.” Sodium
benzoate has been shown to cause DNA damage and chromosomal aberrations. '°
When sodium benzoate combines with ascorbic acid (an ingredient common in
many food products) the two substances can react to produce benzene, which is a
highly toxic carcinogen. Because sodium benozate is formulated or manufactured
by a chemical process or by a process that chemically changes a substance
extracted from naturally occurring plant, animal, or mineral sources, a reasonable
consumer would consider it synthetic.

Glycerin (Vegetable) is a factory-produced texturizer that is created by complex
processing. It is recognized by federal regulations as synthetic. See 7 C.F.R. §
205.605(b). It is commonly used as a filler and thickening agent. It requires
multiple processing steps in an industrial environment to create Glycerin.

Therefore, it cannot be described as “natural.” A technical evaluation report

compiled by the USDA AMS Agricultural Analytics Division for the USDA

 

8 http://www.ewg.org/skindeep/ingredient/705989/SODIUM_BENZOATE/;

http://www. fda.gow/ICECI/EnforcementActions/WarningLetters/20 | l/ucm274535.htm.

921 C.FLR. § 184.1733; see also NAT’L CTR. FOR BIOTECHNOLOGY INFO., U.S. DEPT OF HEALTH & HUMAN
SERVS., Open Chemistry Database: Sodium Benozate: 10.2 Methods of Manufacture PUBCHEM.NCBILNLM.NIH.GOV.
'ON. Zengin et al., The Evaluation of the Genotoxicity of Two Food Preservatives: Sodium Benzoate and Potassium Benzoate,
FOOD AND CHEMICAL TOXICOLOGY 763, 764-68 (2011).

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National Organic Program explains that Glycerin is “produced by a hydrolysis of
fats and oils” and is listed in the USDA Organic Program’s National List as a
“synthetic nonagricultural (nonorganic) substance.” The same report lists several
methods of producing Glycerin, each of which involve numerous steps that
include the use of high temperatures and pressure and purification to get an end

product.

 

Table 2 Processes for producing glycerin by hydrolysis of fats and oils!!

 

Lemmens Fryer’s Process Oil or fat is subjected in an autoclave to the conjoint
action of heat and pressure (about 100 PS1) in the
presence of an emulsifying and accelerating agent, e.g.
zinc oxide or hydroxide (sodium hydroxide can be
substituted) for about eight hours. The strong solution
of glycerin formed is withdrawn and replaced by a
quantity of hot, clean and preferably distilled water
equal to about one third to one fourth of the weight of
the original charge of oil or fat and treatment continued
for an additional four hours. The dilute glycerin
obtained from the latter part of the process is drawn off
and used for the initial treatment of the further charge
of oil or fat.

 

Budde and Robertson’s Process The oils or fats are heated and mechanically agitated
with water and sulphuric acid gas, under pressure in a
closed vessel or autoclave. The advantage claimed for
the process are that the contents of the vessel are free
from foreign matter introduced by reagents and need
no purification; that the liberated glycerin is in the
form of a pure and concentrated solution; that no
permanent emulsion is formed and that the fatty acids
are not discolored.

 

Ittner’s Process Coconut oil is kept in an autoclave in the presence of
water at 70 atmospheres pressure and 225-2450C
temperature and split into fatty acids and glycerin, both
being soluble under these conditions in water. The
glycerin solution separates in the bottom of the
autoclave. The aqueous solution contains at the end of
the splitting process more than 30 percent glycerin.

 

 

Continuous High Pressure Hydrolysis In this process a constant flow of fat is maintained
flowing upward through an autoclave column tower
against a downward counterflow of water at a pressure
of 600 PSI maintained at temperature of 480-495o0F.
Under these conditions, the fat is almost completely
miscible in water and the hydrolysis take place in a
very short time. The liberated fatty acids, washed free

 

 

 

 

" https:/Avww.ams.usda.gov/sites/de fault/files/media/Glycerin%20Petition%20to%20remove%20TR%202013.pdf
40
 

 

of glycerin by the downward percolating water, leave
the top of the column and pass through a flash tank
while the liberated glycerin dissolves in the downward
flow of water and is discharged from the bottom of the
tower into the sweet-water storage tank.

 

 

 

10. Whether Defendant’s labeling of the Products as “Natural” and/or “Natural
Cleansers” is deceptive is judged by whether it would deceive or mislead a reasonable person. To
assist in ascertaining what a reasonable consumer believes the term natural means, one can look
to the regulatory agencies for their guidance.

11. In 2013, the United States Department of Agriculture (“USDA”) issued a Draft
Guidance Decision Tree for Classification of Materials as Synthetic or Nonsynthetic (Natural).
In accordance with this decision tree, a substance is natural—as opposed to synthetic—if: (a) it is
manufactured, produced, or extracted from a natural source (i.e. naturally occurring mineral or
biological matter); (b) it has not undergone a chemical change (i.e. a process whereby a
substance is transformed into one or more other distinct substances) so that it is chemically or
structurally different than how it naturally occurs in the source material; or (c) the chemical
change was created by a naturally occurring biological process such as composting,
fermentation, or enzymatic digestion or by heating or burning biological matter. (Exhibit A).

12. | Congress has defined "synthetic" to mean “a substance that is formulated or
manufactured by a chemical process or by a process that chemically changes a substance
extracted from naturally occurring plants, animals, or mineral sources... .”. 7 U.S.C. § 6502 (21).

13. Surveys and other market research, including expert testimony Plaintiff intends to
introduce, will demonstrate that the term “natural” is misleading to a reasonable consumer
because the reasonable consumer believes that the term “natural,” when used to describe goods
such as the Products, means that the goods are free of synthetic ingredients.

14. Consumers lack the meaningful ability to test or independently ascertain or verify

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whether a product is natural, especially at the point of sale. Consumers would not know the true
nature of the ingredients merely by reading the ingredients label.

15. Discovering that the ingredients are not natural and are actually synthetic requires
a scientific investigation and knowledge of chemistry beyond that of the average consumer. That
is why, even though the ingredients listed above are identified on the back of the Products’
packaging in the ingredients listed, the reasonable consumer would not understand — nor are they
expected to understand - that these ingredients are synthetic.

16. Moreover, the reasonable consumer is not expected or required to scour the
ingredients list on the back of the Products in order to confirm or debunk Defendant’s prominent
front-of-the-Products claims, representations, and warranties that the Products are “Natural”
and/or contain “Natural Cleansers.”

17. Defendant did not disclose that the above listed ingredients are synthetic
ingredients. A reasonable consumer understands Defendant’s “Natural” and/or contain “Natural
Cleansers” claims to mean that the Products are “Natural” and/or contain “Natural Cleansers”
and do not contain synthetic ingredients.

18. Defendant has thus violated, inter alia, NY General Business Law § 392-b by: a)
putting upon an article of merchandise, bottle, wrapper, package, label or other thing, containing
or covering such an article, or with which such an article is intended to be sold, or is sold, a false
description or other indication of or respecting the kind of such article or any part thereof; and b)
selling or offering for sale an article, which to its knowledge is falsely described or indicated
upon any such package, or vessel containing the same, or label thereupon, in any of the
particulars specified.

19. | Consumers rely on label representations and information in making purchasing

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decisions.

20. The marketing of the Products as “Natural” and/or contain “Natural Cleansers” in
a prominent location on the labels of all of the Products, throughout the Class Period, evidences
Defendant’s awareness that “Natural” and/or contain “Natural Cleansers” claims are material to
consumers.

21. | Defendant’s deceptive representations and omissions are material in that a
reasonable person would attach importance to such information and would be induced to act
upon such information in making purchase decisions.

22. Plaintiff and the Class members reasonably relied to their detriment on
Defendant’s misleading representations and omissions.

23.  Defendant’s false, misleading, and deceptive misrepresentations and omissions
are likely to continue to deceive and mislead reasonable consumers and the general public, as
they have already deceived and misled Plaintiff and the Class members.

24. ‘In making the false, misleading, and deceptive representations and omissions
described herein, Defendant knew and intended that consumers would pay a premium for
Products labeled “Natural” and/or contain “Natural Cleansers” over comparable products not so
labeled.

25. As an immediate, direct, and proximate result of Defendant’s false, misleading,
and deceptive representations and omissions, Defendant injured Plaintiff and the Class members
in that they:

a. Paid a sum of money for Products that were not what Defendant
represented;

b. Paid a premium price for Products that were not what Defendant
represented;

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c. Were deprived of the benefit of the bargain because the Products they
purchased were different from what Defendant warranted; and

d. Were deprived of the benefit of the bargain because the Products they
purchased had less value than what Defendant represented.

26. Had Defendant not made the false, misleading, and deceptive representations and
omissions, Plaintiff and the Class members would not have been willing to pay the same amount
for the Products they purchased, and, consequently, Plaintiff and the Class members would not
have been willing to purchase the Products.

27. Plaintiff and the Class members paid for Products that were “Natural” and/or
contain “Natural Cleansers” but received Products that were not “Natural” and/or contain
“Natural Cleansers.” The Products Plaintiff and the Class members received were worth less than
the Products for which they paid.

28. Based on Defendant’s misleading and deceptive representations, Defendant was
able to, and did, charge a premium price for the Products over the cost of competitive products
not bearing a “Natural” and/or contain “Natural Cleansers” label.

29. Plaintiff and the Class members all paid money for the Products. However,
Plaintiff and the Class members did not obtain the full value of the advertised Products due to
Defendant’s misrepresentations and omissions. Plaintiff and the Class members purchased,
purchased more of, and/or paid more for, the Products than they would have had they known the
truth about the Products. Consequently, Plaintiff and the Class members have suffered injury in
fact and lost money as a result of Defendant’s wrongful conduct.

JURISDICTION AND VENUE
30. This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

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U.S.C. section 1332(d) in that: (1) this is a class action involving more than 100 class members;
(2) Plaintiff is a citizen of the State of New York, Defendant California Natural Living, Inc. is a
citizen of the State of California; and (3) the amount in controversy is in excess of $5,000,000,
exclusive of interests and costs.

31. This Court has personal jurisdiction over Defendant because Defendant conducts
and transacts business in the State of New York, contracts to supply goods within the State of
New York, and supplies goods within the State of New York.

32. Venue is proper because Plaintiff and many Class Members reside in the Southern
District of New York, and throughout the State of New York. A substantial part of the events or
omissions giving rise to the classes’ claims occurred in this District.

PARTIES
Plaintiff

33. Plaintiff is an individual consumer who, at all times material hereto, was a citizen
of New York State. During the Class Period Plaintiff purchased California Baby Calendula
Shampoo & Body Wash, California Baby Natural Pregnancy Nourishing Cream, and California
Baby Calming Bubble Bath online and/or from a retail store in New York State. The products
purchased by the Plaintiff are substantially similar and sufficiently similar to the products within
Defendant’s product portfolio that Plaintiff did not purchase (i.e. each of Defendant’s Products
set forth herein in paragraph 1). In fact, the products Plaintiff purchased contain the same
“natural” representation as each of the other Products.

34. The packaging of the Products Plaintiff purchased contained the representation
that they were “Natural” and/or contain “Natural Cleansers.” Plaintiff purchased the products

because she believed they were “Natural” and/or contain “Natural Cleansers” as represented by

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Defendant on the label. Plaintiff did not discover that the products neither “Natural” and/or
contain “Natural Cleansers” until after she purchased the products. Had Plaintiff known the
truth—that the representations she relied upon in purchasing the products were false, misleading,
and deceptive—she would not have purchased them.

35. Plaintiff believes that products that are labeled “Natural” and/or contain “Natural
Cleansers” do not contain synthetic ingredients. Plaintiff believes a synthetic ingredient is
formulated or manufactured by a chemical process or by a process that chemically changes a
substance extracted from naturally occurring plant, animal, or mineral sources. If the Products
were actually “Natural” and/or contain “Natural Cleansers,” as represented on the Products’
label, Plaintiff would purchase the Products in the immediate future.

36. | Had Defendant not made the false, misleading, and deceptive representation that
the Products were “Natural” and/or contain “Natural Cleansers,” Plaintiff would not have been
willing to pay the same amount for the Products, and, consequently, she would not have been
willing to purchase the Products. Plaintiff purchased, purchased more of, and/or paid more for,
the Products than she would have had she known the truth about the Products. Since the Products
Plaintiff received were worth less than the Products for which she paid, Plaintiff was injured in
fact and lost money as a result of Defendant’s improper conduct.

37. Plaintiff continues to desire to purchase “Natural” products, and regularly visits
retail locations where such products are sold, including Defendant’s Products. If Plaintiff knew
the Products’ labels were truthful and non-misleading, she would continue to purchase the
Products in the future. At present, however, Plaintiff cannot purchase the Products because she
has no way to know that the labeling of the Products is, and will be, truthful and non-misleading.

If the Products were actually “Natural,” as represented on the Products’ labels, Plaintiff would

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purchase the Products in the immediate future.
Defendant

33. Defendant California Natural Living, Inc. is a corporation with its principal place
of business in Los Angeles, California. Defendant manufactures, markets, advertises and
distributes the Products throughout the United States. Defendant created and/or authorized the
false, misleading and deceptive advertisements, packaging and labeling for the Products.

CLASS ALLEGATIONS

34. Plaintiff brings this matter on behalf of herself and those similarly situated. As
detailed at length in this Complaint, Defendant orchestrated deceptive marketing and labeling
practices. Defendant’s customers were uniformly impacted by and exposed to this misconduct.
Accordingly, this Complaint is uniquely situated for class-wide resolution, including injunctive
relief.

35. The Class is defined as all consumers who purchased the Products anywhere in
the United States during the Class Period (the “Class”).

36. Plaintiff also seeks certification, to the extent necessary or appropriate, of a
subclass of individuals who purchased the Products in the State of New York at any time during
the Class Period (the “New York Subclass”).

37. | The Class and New York Subclass shall be referred to collectively throughout the
Complaint as the Class.

38. The Class is properly brought and should be maintained as a class action under
Rule 23(a), satisfying the class action prerequisites of numerosity, commonality, typicality, and
adequacy because:

39. | Numerosity: Class Members are so numerous that joinder of all members is

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impracticable. Plaintiff believes that there are thousands of consumers who are Class Members
described above who have been damaged by Defendant’s deceptive and misleading practices.

40. | Commonality: The questions of law and fact common to the Class Members
which predominate over any questions which may affect individual Class Members include, but
are not limited to:

a. Whether Defendant is responsible for the conduct alleged herein which was
uniformly directed at all consumers who purchased the Products;

b. Whether Defendant’s misconduct set forth in this Complaint demonstrates that
Defendant has engaged in unfair, fraudulent, or unlawful business practices
with respect to the advertising, marketing, and sale of its Products;

c. Whether Defendant made false and/or misleading statements to the Class and
the public concerning the contents of its Products;

d. Whether Defendant’s false and misleading statements concerning its Products
were likely to deceive the public;

e. Whether Plaintiff and the Class are entitled to injunctive relief; and

f. Whether Plaintiff and the Class are entitled to money damages under the same
causes of action as the other Class Members.

41. Typicality: Plaintiff is a member of the Class. Plaintiffs claims are typical of the
claims of each Class Member in that every member of the Class was susceptible to the same
deceptive, misleading conduct and purchased the Defendant’s Products. Plaintiff is entitled to
relief under the same causes of action as the other Class Members.

42. Adequacy: Plaintiff is an adequate Class representative because her interests do
not conflict with the interests of the Class Members she seeks to represent; her consumer fraud

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claims are common to all members of the Class and she has a strong interest in vindicating her
rights; she has retained counsel competent and experienced in complex class action litigation and
they intend to vigorously prosecute this action.

43. Predominance: Pursuant to Rule 23(b)(3), the common issues of law and fact
identified above predominate over any other questions affecting only individual members of the
Class. The Class issues fully predominate over any individual issue because no inquiry into
individual conduct is necessary; all that is required is a narrow focus on Defendant’s deceptive
and misleading marketing and labeling practices.

44. Superiority: A class action is superior to the other available methods for the fair
and efficient adjudication of this controversy because:

a. The joinder of thousands of individual Class Members is impracticable,
cumbersome, unduly burdensome, and a waste of judicial and/or litigation
resources;

b. The individual claims of the Class Members may be relatively modest compared
with the expense of litigating the claim, thereby making it impracticable, unduly
burdensome, and expensive—if not totally impossible—to justify individual
actions;

c. When Defendant’s liability has been adjudicated, all Class Members’ claims can
be determined by the Court and administered efficiently in a manner far less
burdensome and expensive than if it were attempted through filing, discovery, and
trial of all individual cases;

d. This class action will promote orderly, efficient, expeditious, and appropriate

adjudication and administration of Class claims;

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e. Plaintiff knows of no difficulty to be encountered in the management of this
action that would preclude its maintenance as a class action;

f. This class action will assure uniformity of decisions among Class Members;

g. The Class is readily definable and prosecution of this action as a class action will
eliminate the possibility of repetitious litigation;

h. Class Members’ interests in individually controlling the prosecution of separate
actions is outweighed by their interest in efficient resolution by single class
action; and

i. It would be desirable to concentrate in this single venue the litigation of all
plaintiffs who were induced by Defendant’s uniform false advertising to purchase
its Products as being “Natural” and/or containing “Natural Cleansers.”

45. Accordingly, this Class is properly brought and should be maintained as a class
action under Rule 23(b)(3) because questions of law or fact common to Class Members
predominate over any questions affecting only individual members, and because a class action is
superior to other available methods for fairly and efficiently adjudicating this controversy.

INJUNCTIVE CLASS RELIEF

46. — Rules 23(b)(1) and (2) contemplate a class action for purposes of seeking class-
wide injunctive relief. Here, Defendant has engaged in conduct resulting in misleading
consumers about ingredients in its Products. Since Defendant’s conduct has been uniformly
directed at all consumers in the United States, and the conduct continues presently, injunctive
relief on a class-wide basis is a viable and suitable solution to remedy Defendant’s continuing
misconduct. Plaintiff would purchase the Products again if the ingredients were changed so that

they indeed were “Natural” and/or contain “Natural Cleansers.”

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47. The injunctive Class is properly brought and should be maintained as a class
action under Rule 23(a), satisfying the class action prerequisites of numerosity, commonality,
typicality, and adequacy because:

a. Numerosity: Individual joinder of the injunctive Class Members would be wholly
impracticable. Defendant’s Products have been purchased by thousands of people
throughout the United States;

b. Commonality: Questions of law and fact are common to members of the Class.
Defendant’s misconduct was uniformly directed at all consumers. Thus, all
members of the Class have a common cause against Defendant to stop its
misleading conduct through an injunction. Since the issues presented by this
injunctive Class deal exclusively with Defendant’s misconduct, resolution of
these questions would necessarily be common to the entire Class. Moreover,
there are common questions of law and fact inherent in the resolution of the
proposed injunctive class, including, inter alia:

i. Resolution of the issues presented in the 23(b)(3) class;
ii. Whether members of the Class will continue to suffer harm by virtue of
Defendant’s deceptive product marketing and labeling; and
iii. Whether, on equitable grounds, Defendant should be prevented from
continuing to deceptively mislabel its Products as being “Natural” and/or
containing “Natural Cleansers.”

c. Typicality: Plaintiff's claims are typical of the claims of the injunctive Class

because her claims arise from the same course of conduct (i.e. Defendant’s

deceptive and misleading marketing, labeling, and advertising practices). Plaintiff

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is a typical representative of the Class because, like all members of the injunctive
Class, she purchased Defendant’s Products which were sold unfairly and
deceptively to consumers throughout the United States.

d. Adequacy: Plaintiff will fairly and adequately represent and protect the interests
of the injunctive Class. Her consumer protection claims are common to all
members of the injunctive Class and she has a strong interest in vindicating her
rights. In addition, Plaintiff and the Class are represented by counsel who is
competent and experienced in both consumer protection and class action
litigation.

48. The injunctive Class is properly brought and should be maintained as a class
action under Rule 23(b)(2) because Plaintiff seeks injunctive relief on behalf of the Class
Members on grounds generally applicable to the entire injunctive Class. Certification under Rule
23(b)(2) is appropriate because Defendant has acted or refused to act in a manner that applies
generally to the injunctive Class (i.e. Defendant has marketed tits Products using the same
misleading and deceptive labeling to all of the Class Members). Any final injunctive relief or
declaratory relief would benefit the entire injunctive Class as Defendant would be prevented
from continuing its misleading and deceptive marketing practices and would be required to
honestly disclose to consumers the nature of the contents of its Products. Plaintiff would
purchase the Products again if the ingredients were changed so that they indeed were “Natural”
and/or contain “Natural Cleansers”

FIRST CAUSE OF ACTION
VIOLATION OF NEW YORK GBL § 349
(On Behalf of Plaintiff and New York Subclass Members)
49. Plaintiff repeats and realleges each and every allegation contained in all the

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foregoing paragraphs as if fully set forth herein.

50. New York General Business Law Section 349 (“GBL § 349”) declares unlawful
“[d]jeceptive acts or practices in the conduct of any business, trade, or commerce or in the
furnishing of any service in this state...”

51. The conduct of Defendant alleged herein constitutes recurring, “unlawful”
deceptive acts and practices in violation of GBL § 349, and as such, Plaintiff and the New York
Subclass Members seek monetary damages and the entry of preliminary and permanent
injunctive relief against Defendant, enjoining it from inaccurately describing, labeling,
marketing, and promoting the Products.

52. There is no adequate remedy at law.

53. Defendant misleadingly, inaccurately, and deceptively advertises and markets its
Products to consumers.

54. Defendant’s improper consumer-oriented conduct—including labeling and
advertising the Products as being “Natural” and/or containing “Natural Cleansers” —is
misleading in a material way in that it, inter alia, induced Plaintiff and the New York Subclass
Members to purchase and pay a premium for Defendant’s Products and to use the Products when
they otherwise would not have. Defendant made its untrue and/or misleading statements and
representations willfully, wantonly, and with reckless disregard for the truth.

55. Plaintiff and the New York Subclass Members have been injured inasmuch as
they paid a premium for products that were—contrary to Defendant’s representations— not
“Natural” and/or contain “Natural Cleansers.” Accordingly, Plaintiff and the New York
Subclass Members received less than what they bargained and/or paid for.

56. _Defendant’s advertising and Products’ packaging and labeling induced the

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Plaintiff and the New York Subclass Members to buy Defendant’s Products and to pay a
premium price for them.

57. Defendant’s deceptive and misleading practices constitute a deceptive act and
practice in the conduct of business in violation of New York General Business Law §349(a) and
Plaintiff and the New York Subclass Members have been damaged thereby.

59. Asaresult of Defendant’s recurring, “unlawful” deceptive acts and practices,
Plaintiff and the New York Subclass Members are entitled to monetary, compensatory, treble
and punitive damages, injunctive relief, restitution and disgorgement of all moneys obtained by
means of Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.

SECOND CAUSE OF ACTION
VIOLATION OF NEW YORK GBL § 350
(On Behalf of Plaintiff and the New York Subclass Members)

60. Plaintiff repeats and realleges each and every allegation contained in all the
foregoing paragraphs as if fully set forth herein.
61. N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

False advertising in the conduct of any business, trade or
commerce or in the furnishing of any service in this state is hereby
declared unlawful.

62. N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:

The term ‘false advertising, including labeling, of a commodity, or
of the kind, character, terms or conditions of any employment
opportunity if such advertising is misleading in a material respect.
In determining whether any advertising is misleading, there shall
be taken into account (among other things) not only
representations made by statement, word, design, device, sound or
any combination thereof, but also the extent to which the
advertising fails to reveal facts material in the light of such
representations with respect to the commodity or employment to
which the advertising relates under the conditions proscribed in
said advertisement, or under such conditions as are customary or

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usual...

63.  Defendant’s labeling and advertisements contain untrue and materially misleading
statements concerning Defendant’s Products inasmuch as they misrepresent that the Products are
“Natural” and/or contain “Natural Cleansers.”

64. Plaintiff and the New York Subclass Members have been injured inasmuch as
they relied upon the labeling, packaging and advertising and paid a premium for the Products
which were—contrary to Defendant’s representations—not “Natural” and/or contain “Natural
Cleansers.” Accordingly, Plaintiff and the New York Subclass Members received less than what
they bargained and/or paid for.

65. Defendant’s advertising, packaging and products’ labeling induced the Plaintiff
and the New York Subclass Members to buy Defendant’s Products.

66. Defendant made its untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

67. | Defendant’s conduct constitutes multiple, separate violations of N.Y. Gen. Bus.
Law § 350.
68. | Defendant made the material misrepresentations described in this Complaint in

Defendant’s advertising, and on the Products’ packaging and labeling.

69. _Defendant’s material misrepresentations were substantially uniform in content,
presentation, and impact upon consumers at large. Moreover, all consumers purchasing the
Products were and continue to be exposed to Defendant’s material misrepresentations.

70.  Asaresult of Defendant’s recurring, “unlawful” deceptive acts and practices,
Plaintiff and New York Subclass Members are entitled to monetary, compensatory, treble and

punitive damages, injunctive relief, restitution and disgorgement of all moneys obtained by

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means of Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.

THIRD CAUSE OF ACTION
VIOLATION OF STATE CONSUMER PROTECTION STATUTES
(On Behalf of Plaintiff and All Class Members)

71. Plaintiff repeats and realleges each and every allegation contained in all the
foregoing paragraphs as if fully set forth herein.

72. Plaintiff and Class Members have been injured as a result of Defendant’s
violations of the following state consumer protection statutes, which also provide a basis for
redress to Plaintiff and Class Members based on Defendant’s fraudulent, deceptive, unfair and
unconscionable acts, practices and conduct.

73.  Defendant’s conduct as alleged herein violates the consumer protection, unfair
trade practices and deceptive acts laws of each of the following jurisdictions:

a. Alaska: Defendant’s practices were and are in violation of Alaska’s Unfair Trade
Practices and Consumer Protection Act, Alaska Stat. § 45.50.47], et seq.

b. Arizona: Defendant’s practices were and are in violation of Arizona’s Consumer
Fraud Act, Ariz. Rev. Stat. Ann. §§ 44-1521, ef seq.

c. Arkansas: Defendant’s practices were and are in violation of Arkansas Code
Ann. § 4-88-101, e¢ seq.

d. California: Defendant’s practices were and are in violation of California
Consumer Legal Remedies Act, Civil Code § 1750, et seqg., and California’s
Unfair Competition Law, California Business and Professions Code § 17200, et
seq., and California’s False Advertising Law, California Business and Professions
Code § 17500, et seq.

e. Colorado: Defendant’s practices were and are in violation of Colorado’s

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Consumer Protection Act, Colo. Rev. Stat. §§ 61-1-101, et seq.

Connecticut: Defendant’s practices were and are in violation of Connecticut’s
Gen. Stat. § 42-110a, et seq.

Delaware: Defendant’s practices were and are in violation of Delaware’s
Consumer Fraud Act, Del. Code Ann. tit. 6, § 2511, ef seg. and the Deceptive
Trade Practices Act, Del. Code Ann. tit. 6, § 2531, ef seq.

District of Columbia: Defendant’s practices were and are in violation of the
District of Columbia’s Consumer Protection Act, D.C. Code § 28-3901, et seq.
Florida: Defendant’s practices were and are in violation of the Florida Deceptive
and Unfair Trade Practices Act, Fla. Stat. Ann. § 501.201, et seq.

Hawaii: Defendant’s practices were and are in violation of the Hawaii’s Uniform
Deceptive Trade Practices Act, Haw. Rev. Stat. § 481A-1, ef seg. and Haw. Rev.
Stat. § 480-2.

Idaho: Defendant’s practices were and are in violation of Idaho’s Consumer
Protection Act, Idaho Code Ann. § 48-601, ef seq.

Illinois: Defendant’s acts and practices were and are in violation of Illinois’
Consumer Fraud and Deceptive Business Practices Act, 815 Ill. Comp. Stat.
505/2; and Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat. 510/2.
Indiana: Defendant’s practices were and are in violation of Indiana’s Deceptive
Consumer Sales Act, Ind. Code Ann. § 24-5-0.5-1, et seq.

Kansas: Defendant’s practices were and are in violation of Kansas’s Consumer
Protection Act, Kat. Stat. Ann. § 50-623, ef seq.

Kentucky: Defendant’s practices were and are in violation of Kentucky’s

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Consumer Protection Act, Ky. Rev. Stat. Ann. § 367.110, ef seq.

Maine: Defendant’s practices were and are in violation of the Maine Unfair
Trade Practices Act, 5 Me. Rev. Stat. Ann. Tit. 5, § 205-A, et seq. and 10 Me.
Rev. Stat. Ann. § 1101, ef seq.

Maryland: Defendant’s practices were and are in violation of Maryland’s
Consumer Protection Act, Md. Code Ann. Com. Law § 13-101, ef seq.
Massachusetts: Defendant’s practices were unfair and deceptive acts and
practices in violation of Massachusetts’ Consumer Protection Act, Mass. Gen.
Laws ch. 93A, § 2.

Michigan: Defendant’s practices were and are in violation of Michigan’s
Consumer Protection Act, Mich. Comp. Laws Ann. § 445.901, et seq.
Minnesota: Defendant’s practices were and are in violation of Minnesota’s
Prevention of Consumer Fraud Act, Minn. Stat. § 325F.68, ef seg. and the
Unlawful Trade Practices law, Minn. Stat. § 325D.09, et seq.

Missouri: Defendant’s practices were and are in violation of Missouri’s
Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.

Nebraska: Defendant’s practices were and are in violation of Nebraska’s
Consumer Protection Act, Neb. Rev. Stat. § 59-1601, ef seq. and the Uniform
Deceptive Trade Practices Act, § 87-302, et seq.

Nevada: Defendant’s practices were and are in violation of Nevada’s Deceptive
Trade Practices Act, Nev. Rev. Stat. Ann. §§ 598.0903 and 41.600.

New Hampshire: Defendant’s practices were and are in violation of New

Hampshire’s Regulation of Business Practices for Consumer Protection, N.H.

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Rev. Stat. Ann. § 358-A:1, ef seq.

New Jersey: Defendant’s practices were and are in violation of New Jersey’s
Consumer Fraud Act, N.J. Stat. Ann. § 56:8-1, et seq.

New Mexico: Defendant’s practices were and are in violation of New Mexico’s
Unfair Practices Act, N.M. Stat. Ann. § 57-12-1, ef seq.

North Carolina: Defendant’s practices were and are in violation of North
Carolina’s Unfair Deceptive Trade Practices Act, N.C. Gen. Stat. Ann. § 75-1, ef
seq.

North Dakota: Defendant’s practices were and are in violation of North
Dakota’s Unlawful Sales or Advertising Practices law, N.D. Cent. Code § 51-15-
Ol, et seq.

Ohio: Defendant’s practices were and are in violation of Ohio’s Consumer Sales
Practices Act, Ohio Rev. Code Ann. § 1345.01, ef seg. and Ohio’s Deceptive
Trade Practices Act. Ohio Rev. Code Ann. § 4165.01, et seq.

Oklahoma: Defendant’s practices were and are in violation of Oklahoma’s
Consumer Protection Act, Okla. Stat. Ann. tit. 15 § 751, ef seg., and Oklahoma’s
Deceptive Trade Practices Act, Okla. Stat. Ann. tit. 78 § 51, ef seq.

Oregon: Defendant’s practices were and are in violation of Oregon’s Unlawful
Trade Practices law, Or. Rev. Stat. § 646.605, et seq.

Pennsylvania: Defendant’s practices were and are in violation of Pennsylvania’s
Unfair Trade Practice and Consumer Protection Law, 73 Pa. Stat. Ann. § 201-1, et
seq.

Rhode Island: Defendant’s practices were and are in violation of Rhode Island’s

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Deceptive Trade Practices Act, R.I. Gen. Laws § 6-13.1-1, et seq.

hh. South Dakota: Defendant’s practices were and are in violation of South
Dakota’s Deceptive Trade Practices and Consumer Protection Act, S.D. Codified
Laws § 37-24-1, et seq.

il. Texas: Defendant’s practices were and are in violation of Texas’ Deceptive
Trade Practices Consumer Protection Act, Tex. Bus. & Com. Code Ann. § 17.41,
et seq.

jj. Utah: Defendant’s practices were and are in violation of Utah’s Consumer Sales
Practices Act, Utah Code Ann. § 13-11-1, et seg., and Utah’s Truth in Advertising
Law, Utah Code Ann. § 13-1 la-1, et seq.

kk. Vermont: Defendant’s practices were and are in violation of Vermont’s
Consumer Fraud Act, Vt. Stat. Ann. tit. 9 § 2451, et seq.

ll. Washington: Defendant’s practices were and are in violation of Washington
Consumer Protection Act, Wash. Rev. Code Ann. § 19.86, et seq.

mm. West Virginia: Defendant’s practices were and are in violation of West
Virginia’s Consumer Credit and Protection Act, W. Va. Code § 46A-6-101, et
seq.

nn. Wisconsin: Defendant’s practices were and are in violation of Wisconsin’s
Consumer Act, Wis. Stat. §421.101, et seq.

00. Wyoming: Defendant’s practices were and are in violation of Wyoming’s
Consumer Protection Act, Wyo. Stat. Ann. §40-12-101, et seq.

74. Defendant violated the aforementioned states’ unfair and deceptive acts and

practices laws by representing that the Products are “Natural” and/or contain “Natural

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Cleansers.”

75. Contrary to Defendant’s representations, the Products are not “Natural” and/or
contain “Natural Cleansers.”

76.  Defendant’s misrepresentations were material to Plaintiff's and Class Members’
decision to pay a premium for the Products.

77. Defendant made its untrue and/or misleading statements and representations
willfully, wantonly, and with reckless disregard for the truth.

78. Asaresult of Defendant’s violations of the aforementioned states’ unfair and
deceptive practices laws, Plaintiff and Class Members paid a premium for the Products.

79. As aresult of Defendant’s violations, Defendant has been unjustly enriched.

80. Pursuant to the aforementioned states’ unfair and deceptive practices laws,
Plaintiff and Class Members are entitled to recover compensatory damages, restitution, punitive
and special damages including but not limited to treble damages, reasonable attorneys’ fees and
costs and other injunctive or declaratory relief as deemed appropriate or permitted pursuant to
the relevant law.

FOURTH CAUSE OF ACTION
BREACH OF EXPRESS WARRANTY
(On Behalf of Plaintiff and All Class Members)

81. Plaintiff repeats and realleges each and every allegation contained in the
foregoing paragraphs as if fully set forth herein.

82. | Defendant provided the Plaintiff and Class Members with an express warranty in
the form of written affirmations of fact promising and representing that the Products are
“Natural” and/or contain “Natural Cleansers.”

83. The above affirmations of fact were not couched as “belief” or “opinion,” and

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were not “generalized statements of quality not capable of proof or disproof.”

84. These affirmations of fact became part of the basis for the bargain and were
material to the Plaintiff's and Class Members’ transactions.

85. Plaintiff and Class Members reasonably relied upon the Defendant’s affirmations
of fact and justifiably acted in ignorance of the material facts omitted or concealed when they
decided to buy Defendant’s Products.

86. | Within a reasonable time after they knew or should have known of Defendant’s
breach, Plaintiff, on behalf of herself and Class Members, placed Defendant on notice of its
breach, giving Defendant an opportunity to cure its breach, which they refused to do.

87. Defendant breached the express warranty because the Products are not “Natural”
and/or contain “Natural Cleansers” because they contain synthetic ingredients.

88. Defendant thereby breached the following state warranty laws:

a. Code of Ala. § 7-2-313;

b. Alaska Stat. § 45.02.313;
C. A.RS. § 47-2313;

d. A.C.A. § 4-2-313;

e. Cal. Comm. Code § 2313;
f. Colo. Rev. Stat. § 4-2-313;
g. Conn. Gen. Stat. § 42a-2-313;
h. 6 Del. C. § 2-313;

i. D.C. Code § 28:2-313;

j. Fla. Stat. § 672.313;

k. 0.C.G.A. § 11-2-313;

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H.R.S. § 490:2-3 13;

Idaho Code § 28-2-313;

810 LL.C.S. 5/2-313;

Ind. Code § 26-1-2-313;

lowa Code § 554.2313;

K.S.A. § 84-2-313;

K.R.S. § 355.2-313;

11 MLR.S. § 2-313;

Md. Commercial Law Code Ann. § 2-313;
106 Mass. Gen. Laws Ann. § 2-313;
M.C.L.S. § 440.2313;

Minn. Stat. § 336.2-313;

Miss. Code Ann. § 75-2-313;
R.S. Mo. § 400.2-313;

Mont. Code Anno. § 30-2-313;
Neb. Rev. Stat. § 2-313;

Nev. Rev. Stat. Ann. § 104.2313;
R.S.A,. 382-A:2-313;

N.J. Stat. Ann. § 12A:2-313;
N.M. Stat. Ann. § 55-2-313;
N.Y. U.C.C. Law § 2-313;

N.C. Gen. Stat. § 25-2-313;

N.D. Cent. Code § 41-02-30;

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jj. 12A OKI. St. § 2-313;
kk. Or. Rev. Stat. § 72-3130;
ll. 13 Pa. Rev. Stat. § 72-3130;
mm. R.I. Gen. Laws § 6A-2-313;
nn. S.C. Code Ann. § 36-2-313;
00. S.D. Codified Laws, § 57A-2-313;
pp. Tenn. Code Ann. § 47-2-313;
qq. Tex. Bus. & Com. Code § 2.313;
Ir. Utah Code Ann. § 70A-2-313;
SS. 9A V.S.A. § 2-313;
tt. Va. Code Ann. § 59,1-504.2;
uu, Wash. Rev. Code Ann. § 6A.2-313;
vw. W. Va. Code § 46-2-313;
ww. Wis. Stat. § 402.313;
xx. Wyo. Stat. § 34.1-2-313.
89. Asadirect and proximate result of Defendant’s breach of express warranty,

Plaintiff and Class Members were damaged in the amount of the price they paid for the Products,

Il. O.R.C. Ann. § 1302.26;

in an amount to be proven at trial.

90. On June 2, 2017, Plaintiff mailed a Pre-Suit Notice letter to Defendant. Attached
to the Pre-suit Notice Letter was a copy of a draft complaint which stated that “Defendant

breached the express warranty because the Product does not contain ‘Natural Elements’ . . . [this

violates] N.Y. U.C.C. Law § 2-313.”

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FIFTH CAUSE OF ACTION
VIOLATION OF THE MAGNUSON-MOSS
WARRANTY ACT, 15 U.S.C. § 2301 et seg.
(On Behalf of Plaintiff and All Class Members)

91. Plaintiff repeats and realleges each and every allegation contained in the
foregoing paragraphs as if fully set forth herein.

92. Plaintiff brings this claim individually and on behalf of all members of the Class.
Upon certification, the Class will consist of more than 100 named Plaintiffs.

93. | The Magnuson-Moss Warranty Act provides a federal remedy for consumers who
have been damaged by the failure of a supplier or warrantor to comply with any obligation under
a written warranty or implied warranty, or other various obligations established under the
Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et seq.

94. The Products are “consumer products” within the meaning of the Magnuson-Moss
Warranty Act, 15 U.S.C. § 2301(1).

95. Plaintiff and other members of the Class are “consumers” within the meaning of
the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

96. Defendant is a “supplier” and “warrantor” within the meaning of the Magnuson-
Moss Warranty Act, 15 U.S.C. §§ 2301(4) & 2301(5).

97. Defendant represented in writing that the Products are “Natural” and/or contain
“Natural Cleansers.”

98. These statements were made in connection with the sale of the Products and relate
to the nature of the Products and affirm and promise that the Products are as represented and
defect free and, as such, are “written warranties” within the meaning of the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2301(6)(A).

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99. Asalleged herein, Defendant breached the written warranty by selling consumers
Products that are not “Natural” and/or contain “Natural Cleansers.”

100. The Products do not conform to the Defendant’s written warranty and therefore
violate the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 ef seg. Consequently, Plaintiff and
the other members of the Class have suffered injury and are entitled to damages in an amount to
be proven at trial.

JURY DEMAND

Plaintiff demands a trial by jury on all issues.

WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for judgment as follows:

(a) Declaring this action to be a proper class action and certifying Plaintiff as the
representative of the Class under Rule 23 of the FRCP;

(b) Entering preliminary and permanent injunctive relief against Defendant, directing
Defendant to correct its practices and to comply with consumer protection statutes
nationwide, including New York consumer protection laws;

(c) Awarding monetary damages, including treble damages;

(d) Awarding punitive damages;

(e) Awarding Plaintiff and Class Members their costs and expenses incurred in this action,
including reasonable allowance of fees for Plaintiffs attorneys and experts, and
reimbursement of Plaintiff's expenses; and

(f) Granting such other and further relief as the Court may deem just and proper.

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Dated: February 5, 2017

THE SULTZER LAW GROUP P.C.

Jason P, Sultzer /s/

 

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